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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

STRIKE 3 HOLDINGS, LLC,                           )
                                                  )
       Plaintiff,                                 )   Civil Case No. 1:18-cv-03604-JKB
                                                  )
v.                                                )
                                                  )
JOHN DOE subscriber assigned IP address           )
71.179.21.74,                                     )
                                                  )
       Defendant.                                 )
                                                  )

     PLAINTIFF’S EX-PARTE APPLICATION FOR EXTENSION OF TIME WITHIN
         WHICH TO EFFECTUATE SERVICE ON JOHN DOE DEFENDANT
        Pursuant to Fed. R. Civ. P. 4(m), Plaintiff, Strike 3 Holdings, LLC (“Plaintiff”), makes

this ex-parte application for entry of an order extending the time within which to effectuate

service on John Doe Defendant, and states:

       1.      This is a copyright infringement case against a John Doe Defendant known to

Plaintiff only by an IP address. Defendant’s true identity is known by their Internet service

provider (“ISP”).

       2.      On December 28, 2018, Plaintiff was granted leave to serve a third party

subpoena on Defendant’s ISP to obtain the Defendant’s identifying information [CM/ECF 5].

Plaintiff issued the subpoena on or about January 7, 2019 and expects to receive the ISP’s

response on or about February 21, 2019.

       3.      Pursuant to Fed. R. Civ. P. Rule 4(m), Plaintiff is required to effectuate service on

the Defendant no later than February 22, 2019. Because the ISP is not expected to respond until

February 21, 2019, and Defendant’s identity is currently unknown to Plaintiff, Plaintiff is unable

to comply with the current deadline to effect service on John Doe Defendant.

       4.      Plaintiff respectfully requests that the time within which it has to effectuate

service of the summons and Complaint on Defendant be extended sixty (60) days, and thus the


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deadline to effect service be extended to April 23, 2019. This extension should allow Plaintiff

sufficient time to receive the ISP response, conduct a further investigation to assist in

determining whether the individual identified by the ISP is the appropriate defendant for this

action, amend the complaint and serve defendant.

       5.      This application is made in good faith and not for the purpose of undue delay.

       6.      This is Plaintiff’s first request for an extension. None of the parties will be

prejudiced by the granting of this extension.

       WHEREFORE, Plaintiff respectfully requests that the time within which it has to
effectuate service of the summons and Complaint on Defendant be extended until April 23, 2019.

A proposed order is attached for the Court’s convenience.

Dated: February 21, 2019
                                                      Respectfully submitted,

                                                      By: /s/ Jessica Haire
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